                        UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN

In the Matter of:

       STEPHANIE MATTHEWS,                            Chapter 13
       19445 Lexington                                Case No. 16-46136
       Redford, MI 48240                              Judge Walter Shapero
       xxx-xx-3918



       Debtor(s).
                                      /



                             ORDER ADJOURNING HEARING
This matter having come on for hearing on August 8, 2016, regarding [ONLY

PROVISIONS CHECKED BELOW SHALL APPLY]:

☐ A motion to dismiss case


☒ Confirmation of a plan


☐ A motion to lift stay as creditor


☐ Other:


       The parties having agreed to the terms herein, based on the records of the

Court, the Court being otherwise sufficiently advised in the premises; and there

being no adverse impact upon any party by way of this action, thus no notice is




  16-46136-mlo      Doc 31   Filed 08/04/16   Entered 08/04/16 10:26:09   Page 1 of 2
required to be given; now therefore;

      IT IS HEREBY ORDERED that [ONLY PROVISIONS CHECKED BELOW SHALL APPLY]:

☒ The above referenced matter is adjourned to October 3, 2016 @ 10:00 A.M.


☐ Debtor(s) shall be 100% current in Plan payments, pursuant to the Trustee’s


records on or before

☐ Debtor(s) shall file and serve amended on or before


☐ Debtor(s) shall attend the adjourned First Meeting of Creditors


☐ Other:


      IT IS FURTHER ORDERED that if any of the above is not completed by the

date and time specified, the case shall be dismissed upon Order of the Court

without further notice or hearing.


                                           .

Signed on August 04, 2016
                                           ____ __/s/ Walter Shapero_    ___
                                              Walter Shapero
                                              United States Bankruptcy Judge




  16-46136-mlo   Doc 31   Filed 08/04/16       Entered 08/04/16 10:26:09   Page 2 of 2
